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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 1:20mj03178Reid-3CCD

  U NITED STATES O F AM ERICA

   V5.

   UNTARIUS DEM O NT A LEXA NDER and
   R OD RICK M AU RICE HA M ILTO N,

           D efendants.

                                                 /

                                  CRIM INA L CO VER SHEET

   1. D id this m atter originate from a m atter pending in tht CentralRegion of the United States
         Attorney'sOfficepriortoAugust9,2013 (M ag.JudgeAliciaValle)?         - Yes X.No
   2. D id this m atteroriginate from a m atterpending in the N orthern Region ofthe United States
         Attorney'sOfficepriortoAugust8,2014(Mag.JudgeShaniekMaynard)?              Yes X No
   3. D id this m atter originate from a m atter pending in the CentralRegion of the U nited States
         Attorney'sOfficepriortoOctober3,2019(M ag.JudgeJaredStrauss)? -Yes Z.No

                                                      Respectfully subm itted,

                                                      ARIANA FAJA RD O ORSHA N
                                                      U NITED STA TES A TTORNEY


                                               BY :    /s/shane Butland
                                                      Shane Butland
                                                      A ssistantUnited StatesAttorney
                                                      Southern D istrictofFlorida
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                                                      99 N ortheast4th Street,4th Floor
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AO 91(Rev 08/09) CrlmlnalComplalnt

                                 U NITED STATESD ISTRICT COURT
                                                           forthe
                                                Southern DistrictofFlorida

               UnitedStatesofAmerica
                            V.
                                                                   CaseNo. 1:20mjQ3178 Reid -3CCD
       UNTARIUS DEMONT ALEXANDER and
         RODRICK MAURICE HAMILTON,

                        Defendantls)

                                                 CRIM INAL COM PLAINT
         1,the complainantin thisc>e,state thatthefollowing istrueto thebestofmy knowledge and belief.
Onoraboutthedatets)of                  Se.py4mk4r. ;-ia49.
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                                                          %-- ---- inthecountyof -.-- -Mhm..(r
                                                                                             pade-..-.
                                                                                                     -- inthe
     smuthern--      Districtof            Flofita- -   -  ,t
                                                            hedefendantts)violated:
                                                            -



           CodeSecdon                                                 OfenseDescri
                                                                                 ption
 18U.S.C.! 1951(a)                          Conspiracyto CemmitHebbsAd Robbery
 18U.S.C.j1951(a)                           Attempted HobbsActRobbery
 18U.S.C.j924(c)(1)(A)(ii)and (iii)         Brandishing and Discharging a Firearm inFurtherance ofa Crime ofViolence




         Thiscriminalcomplaintisba ed onthesefacts:
          SEE ATTACHED AFFIDAVIT.




         W continuedontheattachedsheet.
                                                                                                               '
                                                                        ;

                                                                                     Com   ir/o?1'signatttre

                                                                                   TFQ -
                                                                                       K
                                                                                       ,mrmolh.V,
                                                                                                -QIOg.ATF
                                                                                     Pritïlednametw7c/tille

 Attested to by the applicantin accordance with the
 requirementsofFed.R.Crim.P.4.1by FaceTime.                                    w                     *


         y l7,2020
 Date: Jul     ..
                                                                                       Jlt
                                                                                         dgeb-signature

 City andstate:                  .     MiymiaFlpridp                         Li
                                                                              sette M.Reid.U.S.MagistrateJudge     .   .
                                                                                      Printed nameand tf//e
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                  A FFID AVIT IN SUPPO RT O F CRIM IN AL CO M PLA INT

          1,K enneth Veloz,being firstduly sworn,hereby depose and state asfollow s:

                 I am a Task Force Officer w ith the Bureau of A lcohol,Tobacco,Firearm s,and

   ExplosivesCW TF'').lhaveservedasanATFTaskForceOfficerinM iamiforapproximatelynine
   (9)years.Ihave been tmployed as a law enforcementofficerwith the Miami-Dade Police
   Departmentfortwenty-seven (27)years.Currently,Iam assignedtotheStreetTerrorOffender
   Program (iisTOP'')/High Intensity Dl'
                                       ug Trafficking Area ($$HlDTA'')Task Force.M y duties
   include the investigation of a variety offederaloffenses,including crimes such asHobbs Act

   robbery,thepossessionoffirearmsinfurtheranceofviolentcrimes,and drugtraffickingoffenses.

          2.     The inform ation setforth in thisA ftsdavitcom esfrom m y personalinvolvem entin

   this investigation,as wellasfrom inform ation provided to m e by other law enforcem entofficers

   who were involved in the investigation.This A ffidavitdoesnotrepresentevery factknow n about

   thisinvestigation,butisrathersubmittedforthelimitedpum oseofestablishing probablecausefor

   the issuance of a crim inal com plaint charging UNTA RIU S DEM ONT A LEXAN DER

   (CSALEXANDER'')andRODRICK MAURICE HAMILTON CiHAM ILTON'')withconspiracyto
   commitHobbsActRobbery,inviolationofTitle18,UnitedStatesCode,Section 1951(a);Hobbs
   ActRobbery,inviolationofTitle18,UnitedStatesCode,Section l951(a);andBrandishingand
   Discharging a Firearm in Furtherance ofa Crime ofViolence,in violation ofTitle 18,United

   StatesCode,Section924(c)(1)(A)(ii)and(iii).
                                       PRO BM LE CA USE
                  On or aboutSeptem ber29,2019,atapproxim ately 10:12 a.m .,an arm ed robbery

   occurred atthe Grab-A-snack Convenience Store(the ç:Store''),located at1490 NW 71StStreet,
   M iam i,Florida.V ideo surveillance cam eraslocated inside oftheStore captured therobbery,which
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  I review ed. ln the video, tw o m asked individuals entered the Store. One of these m asked

  individuals,who waslateridentified asALEXANDER,waswearing a yellow hooded sweatshirt

  and dark pants,and the otherindividual,w ho w as Iateridentiied as HAM ILTON ,w asw earing a

  blackjacketandblackpantswithgray/whitestripesontheside.
                 ALEXANDER walked into the Store while HAM ILTON remained by the door.

  ALEXAN DER then attem pted to acctss the EdEm ployees Only''area behind the cashier counter

  wheretheStore'sclerk(victim :1C.C.'')wasstanding.Thisareaislargelyenclosedbybulletproof
   glass,buthasan open area in frontofthe registerwherecustomersand the clerk can exchange

   m oney and goods.Other than through thatopening,the only altem ative access pointforbehind

   the counter is through a side door.ALEX AN DER initially attem pted to enter the restricted area

   through thesidedoor,butafterrealizing itwaslocked,hethen moved towardsthe opening inthe

   glassenclosure,while HAM ILTON rem ained by the Store's entrance.

          5.     ALEXANDER thenjumpedontopofthecashiercounterandpulledasrearm from
   the pouch pocketof his hooded sweatshirt.ln response,C.C.grabbed a firearm from underthe

   counter and shot at A LEXAN DER m ultiple tim es,forcing ALEX AN DER to retreat from the

   window and take cover behind one of the Store's food displays,where ALEX AN D ER returned

   Gre.ALEXANDER and C.C.continuedtofiremultipleroundsateach other,andduringthecourse

   ofthisexchange,ALEXAN D ER w as struck w ith a bullet,which resulted in a signiscantam ount

   ofblood being leftatthe scene.M eanw hile,during the tsrefight,HA M ILTON also brandished a

   firearm and shotthesrearm inthe directionofC.C.
          6.      HAM ILTON thereafter tled the Store and ran eastbound on N W 71St Street.

   ALEXAN DER tled the Store approximately one m inute later and ran in the sam e direction as

   HA M ILTON .C.C.im m ediately called 9-1-1 forassistance and law enforcem entresponded to the



                                                  2
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  Store.On scene,1aw enforcementcollected blood samplesfrom theStore'stloorforsubsequent

  DN A analysisand com parison.
                 Shortly thereafter,the City ofM iamiPolice dispatch received a callofa single

  vehicle crash atthe intersection of2ndcourtand N W 71StStreet,M iam i,Florida,which islocated

  approximately 1.3 mileseastoftheStore.Videosurveillancefrom anearby businessshowedthat

  thecrashoccurredapproximatelythree(3)minutesafterALEXANDER andHAM ILTON tledthe

  Store.
           8.    Law enforcement responded to the crash scene and discovered thatthe crashed

  vehicle- ablack Ford ExplorerSUV (theisvehicle'')with Floridatag numberKSAY4&-was
  registered to H AM ILTON .Law enforcementofficersalso observed thattheV ehicle'slicenseplate

   w ascovered w ith a pieceofcardboard.

           9.    Law enforcem entrecovered aSam sung cellularphone from thefrontpassengerseat

   ofthe V ehicle.A search ofthatphone,w hich w as conducted pursuantto a search w arrantsigned

   by M iam i-D ade State CourtJudge J.M ansfield on or about October28,2019,revealed thatthe

   phone wasregistertd to HAM ILTON .
           10.   Law enforcement also observed and obtained samples of blood on the front

   passenger interiorof the V ehicle despite there being no evidence of severe im pactor shatttred

   glassthatcouldhavecausedsuch injuriestotheVehicle'soccupantts).
                 Thereafter,m em bersoftheCity ofM iam iPoliceD epartm entreceived areportfrom

   individualw ith the initials 1iP.S.,''who claim ed thatshe w asthe ow nerofthe V ehicle and thatit

   was stolen by an unknown male from her house.W hen interviewed about the thefk P.S.
   subsequently adm itted to law enforcem entin arecorded statem entthatthe V ehicle wasnotstolen

   as she initially reported.Rather,P.S.stated thatH AM ILTON ,who w as the registered ownerof


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  theVehicleandherboyfriend,leftherhousewiththecarearlierthatm orning afterreceivingacall

  from hisfriend lsstutter.''HA M ILTON returned to thehouse laterthatm orning and told P.S.that

  the car had been involved in a bad accident and that Sdstutter''w as shot. HA M ILTON then

  dem anded thatP.S.callthe police to reportthattht V ehicle w as stolen,and told P.S.whatto say

  to the police.
                   P.S.reported thatHAM ILTON thentook thekeysto avehicleregisttredtoP.S.
                                                                                        -

  a black Chevy Im pala,tag numberLM GM 49- and leftto getiûstutter.''
           13.     P.S.further stated to law enforcem entthat she knew téstutter''as H AM ILTON 'S

  friend and positively identitsed a photograph ofALEXANDER asthe individualshe knew as

   tçstutter.''
           14.     On or about October 4,2019,A LEXAN DER w as arrested and charged in state

   courtwithan unrelatedcrime.ALEXANDER'Scellulartelephonewasseizedincidenttohisarrest

   and subsequently searched pursuantto a search warrant.ALEXANDER'S phone contained a

   photographofhim and HAM ILTON on oraboutSeptember1,20l8.HAM ILTON appearsto be

   w earing the sam e pants in thatphotograph- black pants w ith three gray/white stripes dow n the

   Iegs- ashewaswearing duringthe robberyonoraboutSeptem ber29,2019.
                   On or about October 7, 2019, law enforcem tnt obtained a buccal swab from

   ALEXANDER thatwascompared with theswabsofthe blood Iocated in the Storeand insideof

   the Vehicle.That com parison revealed that the DN A profile obtained from ALEX AN D ER 'S

   buccalswab matched the DNA profileobtained from the swabsoftheblood from the Storeand

   the Vehicle.
            l6.    H AM ILTON w asthereafterarrested by Florida stateauthoritieson oraboutM arch

   20,2020.HA M ILTON provided an audio-recorded statem entto law enforcem entafter waiving


                                                   4
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   hisM iranda rights,in whichhestated thathepicked up A LEXAN DER in theVehiclethemorning
   of September 29, 2019 and took him to HAM ILTON 'S niece's house, which is located

   approximately 0.8 m ilesfrom the Store.HAM ILTON stated thathe w entinside to visitw ith his

   niece while A LEXAN DER stayed in the car,and realized when he exited the residence twenty

   (20) minutes later that ALEXANDER took the Vehicle without HAM ILTON'S permission.
   HAM ILTON then stated that he took a car service back to P.S.'S residence,at which time

   A LEXAN DER showed up with a gunshotw ound butwould notprovide an explanation asto how

    itoccurred orthe Vehicle'sIocation.HAM ILTON then claimed hetook ALEXAN DER to one of

    ALEXAN DER'Sfriend's housesin a separate vehicle and cleaned the vehicle afterwards.

           17.   Basedontheforegoing,yourAm antrespectfullysubmitsthatthereexistsprobable

    cause to believe thatA LEXAN DER and HAM ILTON comm itted the offenses of conspiracy to

    commit Hobbs Act robbery,in violation of Title 18,United States Code,Section 1951(a);
    attemptedHobbsActrobbery,inviolationofTitle18,UnitedStatesCode,Section1951(a);and
    Brandishing and Discharginga Firearm in FurtheranceofaCrim eofV iolence.inviolation ofTitle

    l8,UnitedStatesCode,Section924(c)(l)(A)(ii)and(iii).
                                                                        .ae

    FURTHER YOUR AFFIAN T SAYETH N AUGHT                               ''9
                                                     '>
                                                     T        e O m cerKen t Veloz
                                                     Bureau ofA lcohol,Toba ,Firearms,and
                                                     Explosives

    Attestedtobytheapplicantin
    accordance w lth the requirem ents
    ofFed.R.Crim .P.4.l,by Face Tim e
    this l7thday ofJuly 2020.
           <                 *



          ORABLE LIS U E M .REID
     UN ITED STATES M AGISTRATE JUDG E

                                                 5
